             Case 8:20-cr-00146-DOC
  KARREN KENNEY    - SBN 174872               Document 26 Filed 02/23/21 Page 1 of 1 Page ID #:81
  KENNEY LEGAL DEFENSE                                                                                      CLEAR FORM
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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
    UNITED STATES OF AMERICA,                                      CASE NUMBER

                                                       PLAINTIFF
                                                                                   SACR 20-00146-DOC
                                   v.

                                                                                  APPLICATION FOR
                                                                      REVIEW/RECONSIDERATION OF ORDER
  JASON FONG                                                                  SETTING CONDITIONS OF
                                                    DEFENDANT.                  RELEASE/DETENTION
                                                                   (18 U.S.C. §3142) AND REQUEST FOR HEARING

       Application is made by G plaintiff G✔defendant
  that a hearing be held to review /reconsider the decision of

  G United States District Judge                                           by order dated:

  ✔Magistrate Judge
  G                                                                        by order dated:

       G denying release and imposing detention under subsection G (d) or G (e) of Title 18 U.S.C. §3142; or
       G ordering release upon certain conditions, or
       G denying detention.

      This application is made G ✔pre-sentence G post-sentence based on the following facts not previously considered by
  said judicial officer or changed circumstances as follows:
  Mr. Fong waived his right to a detention hearing "Until such time as his release from state court becomes imminent" per
  Criminal Minutes (docket number 14). Mr. Fong is in federal custody and is now requesting a detention hearing.


      Relief sought (be specific):
  Mr. Fong is seeking to have bond/bail set in this matter.




      Counsel for the defendant and plaintiff United States Government consulted on February 22, 2021
  and opposing counsel declines to stipulate to an order providing the relief sought.

                               ✔AUSA G Defendant’s Counsel G PSA G Interpreter G USM G Probation
  ✔ Telephonic notice given to G
  G
  on February 23, 2021                  .

                                    ✔not required. Language
       An interpreter is G required G
                      ✔
       Defendant is G in custody G not in custody.

  February 23, 2021                                                /s/Karren Kenney - Attorney for Jason Fong
  Date                                                             Moving Party


                         APPLICATION FOR REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF
                                RELEASE/DETENTION, (18 U.S.C. §3142) AND REQUEST FOR HEARING
CR-88 (06/07)
